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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 IN RE: EPIPEN (EPINEPHRINE INJECTION,
 USP) MARKETING, SALES PRACTICES AND                         Case No. 2:17-MD-02785-DDC-TJJ
 ANTITRUST LITIGATION                                        (MDL No. 2785)

 This Document Relates to Class Cases


                  UNOPPOSED MOTION TO CONTINUE TRIAL DATE

       The Mylan Defendants respectfully submit this Unopposed Motion to Continue Trial Date

and move the Court to vacate the trial date, which is currently set for February 22, 2022. See Order

Adopting Scheduling Order No. 16 (Second Am. Trial Order) [Doc. 2562]. In support of this

request, the Mylan Defendants state as follows:

       1.      At the Final Pretrial Conference on January 10, 2022, the Court granted the Mylan

Defendants’ request to continue the trial from its prior setting on January 24, 2022, and the Court

subsequently reset the trial to begin on February 22, 2022. See Doc. 2561.

       2.      The parties are in agreement that a further continuance of the trial would be

mutually convenient to the parties, their counsel, and witnesses. This will allow the parties and

the Court to proceed in an efficient manner, avoid duplication of effort, and effectuate the policies

embodied in the Rules. See Fed. R. Civ. P. 1.

       3.      The Mylan Defendants have met and conferred with Plaintiffs and have confirmed

that Plaintiffs do not oppose the relief requested herein.

       WHEREFORE, the Mylan Defendants respectfully move the Court to vacate the February

22, 2022 trial date and all intervening deadlines and to continue such deadlines to times to be

determined.
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Dated: February 7, 2022                  Respectfully submitted,

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